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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JACQUELINE STEVENS,                           )
                                               )
                              Plaintiff,       )
                                               )
                                                    No. 17 C 2494
                      v.                       )
                                               )
                                                    Judge Lee
 UNITED STATES DEPARTMENT OF                   )
 STATE,                                        )
                                               )
                              Defendant.       )

  DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

       Plaintiff Jacqueline Stevens’s response to the State Department’s motion for summary

judgment (Dkt. 33) was due on June 29, 2018 (Dkt. 39), but Stevens has not filed any response

nor sought an extension of the briefing schedule. The Department’s reply brief is due today.

Because it appears that Stevens does not contest that the Department is entitled to summary

judgment, the court should enter judgment for the Department.

                                           Respectfully submitted,

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